 

UNITED sTATES oF AMERICA " . \.
UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT oF MICHIGAN.

 

 

SOUTHERN DIVISION l " “ " .’ 1
GwanJ un Kim,
Plaintiff, Case No. 1:06-cv-683
v. Hon. Gordon J. Quist

United States Department of Labor, et al,

Defendants.

ORDER RE,|ECTING PLEADING

The Court has examined the following proposed “Answer ‘Michigan Departrnent of Labor
& Economic Growth, and Director Robert W. Swanson’s Answer to Plaintiff’s Motion for Leave
to File Second Amended Complaint’ and Affirmative Plaintiff” received Decernber 15, 2006, and
Orders the Clerk to reject the answer and to return it to plaintiff for the reasons noted below:

Mr. Kirn is attempting to file a response to a document that was stricken from the
record per court order dated Decernber 14, 2006.

IT IS SO ORDERED.

JAlezouz &UM<) %
Dated:

elc Goréon J. Quist
U. S DistrictJudge\

|:|THE CLERK SHALL ACCEPT THE PLEADING(S) FOR FILING

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